 Case 2:19-cv-07723-DMG-RAO Document 32 Filed 09/25/20 Page 1 of 1 Page ID #:343




 1

 2

 3

 4

 5

 6

 7
                         UNITED STATES DISTRICT COURT
 8

 9                     CENTRAL DISTRICT OF CALIFORNIA
10

11
     EMIL LEWIS,                                  Case No.: CV 19-7723-DMG (RAOx)

12
                     Plaintiff,
                                                  ORDER RE DISMISSAL OF
13
                           v.                     ACTION WITH PREJUDICE [31]
14
     LOWE’S HOME CENTERS, LLC,

15
                     Defendant.
16

17

18

19
           The Court has reviewed and considered the parties’ Joint Stipulation for

20
     Dismissal with Prejudice [Doc. # 31], filed on September 23, 2020. Good cause

21
     appearing,

22
           IT IS HEREBY ORDERED that the above-captioned action is dismissed

23
     with prejudice. Each party shall bear its own fees and costs.

24

25
     DATED: September 25, 2020
                                           DOLLY M. GEE
26                                         UNITED STATES DISTRICT JUDGE
27

28



                                              1
